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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION


  JESSICA KANABLE and
  ANNETTE KANABLE,

                Plaintiffs,

  v.                                                      Case No. 3:18-cv-1090-J-34PDB

  ALLY FINANCIAL, INC.,

                Defendant.



                                           ORDER

         THIS CAUSE is before the Court on the Joint Motion to Stay and Submit Case to

  Arbitration (Dkt. No. 6; Motion) filed on October 8, 2018. In the Motion, the parties request

  that the Court stay this case pending completion of the agreed upon arbitration. See

  generally Motion. Accordingly, it is

         ORDERED:

         1.     The Joint Motion to Stay and Submit Case to Arbitration (Dkt. No. 6) is

                GRANTED.

         2.     The parties are directed to submit all claims to arbitration pursuant to their

                agreement.

         3.     This case is hereby STAYED pending the completion of the arbitration

                proceedings.    The Clerk of Court is directed to terminate any pending

                motions and administratively close the file pending notification from the

                parties that the case is due to be reopened or dismissed.
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          4.      The parties shall file a joint status report upon the conclusion of the

                  arbitration. If the arbitration is not completed by February 8, 2019, then the

                  parties shall file a joint status report at that time and every 120 days

                  thereafter until the arbitration is completed.

          5.      The proposed order (Dkt. No. 6-1) is STRICKEN.1

          DONE AND ORDERED in Jacksonville, Florida this 9th day of October, 2018.




  ja

  Copies to:

  Counsel of Record




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    The parties submitted a proposed order with the Motion. See Dkt. No. 6-1. Although the Court
  appreciates the parties’ efforts in preparing a proposed order, its submission is inconsistent with the Court’s
  Administrative Procedures for Electronic Filing, IV.A.4.: “No proposed order or judgment may be submitted
  unless authorized by the assigned judge.” See also Local Rule 1.01(a). Therefore, the proposed order is
  due to be stricken.




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